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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

PHILIP KOKOSKA                                                  •        CIVIL ACTION NO.
Plaintiff                                                       •        3:12 CV 1111 (MPS)

V   .




CITY OF HARTFORD;                   •
CHIEF DARYL K. ROBERTS, in his      •
official and individual capacity;   •
OFFICER J. CARROLL, in his          •
official and individual capacity;   •
OFFICER GEORGE MATTHEWS, in his     •
official and individual capacity;   •
OFFICER MAURICE WASHINGTON, in his .
official and individual capacity;   •
DETECTIVE V. OTERO, in his          •
official and individual capacity;   •                                    February 7, 2014
SERGEANT St. JOHN, in his official  .
and individual capacity.            •

Defendants

                        DEFENDANTS' JOINT MOTION IN LIMINE
                    REGARDING WRITTEN STATEMENT OF JILL CARON

         The defendants, City of Hartford, Chief Daryl Roberts% Officer Jonathan Carroll, Officer

George Matthews, Officer Maurice Washington, Detective Victor Otero and Sergeant Sean St.

John hereby respectfully submit this motion in limine with respect to the written statement of Jill

Caron. The defendants seek to exclude this written statement from introduction into evidence for

the following reasons:

         1. The written statement of Jill Caron is hearsay and no exception to the hearsay rule
            applies. Fed.R.Evid. 801(c) and 802.

         2. The written statement of Jill Caron contains inadmissible lay opinion about material
            issues in the case, such as the reasonableness of the force used by the defendants.
            Fed.R.Evid. 701.

1111 order to resolve a discovery dispute the plaintiff agreed with withdraw all Monell claims as well as all claims
against Chief Roberts, and has agreed to file an Amended Complaint to reflect the same. However, the plaintiff has
not yet done so.

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       3. The written statement of Jill Caron contains inadmissible evidence of the plaintiff's
          alleged non-violent character. Fed.R.Evid. 404(a)(1).

       4. The written statement includes inadmissible lay opinion testimony regarding the
          cause and permanency of the plaintiff's claimed facial scar. Fed.R.Evid. 701 and
          702.

       5. The written statement of Jill Caron also includes inadmissible secondary hearsay
          evidence of the alleged opinions of an unidentified female police officer, whom Ms.
          Caron claims agreed that defendant police officers' actions were unreasonable.
          Fed.R.Evid. 701, 702 801 and 802.

       6. The written statement includes irrelevant statements as to Ms. Caron's own emotions
          and personal reactions to the events she claims to have observed. Fed.R.Evid. 401, et
           seq.

       Furthermore, in the event that Ms. Caron is called live to testify as a witness, the

defendants move that her testimony be restricted to her personal observations and that she be

precluded from offering testimony in the form of hearsay or lay opinion such as that which is

included within her written statement.

II.    Facts and Procedural History

       A. Allegations of the Plaintiff's Amended Complaint.

       The operative complaint in this matter is plaintiff's Amended Complaint, dated February

7, 2013. (Doc. No. 38). This case arises out of the arrest of the plaintiff on November 25, 2010

at approximately 12.30 a.m. The plaintiff's complaint alleges that Jonathan Carroll, Maurice

Washington, George Matthews and Detective Victor Otero and Sergeant Sean St. John

(collectively "the defendant police officers") of the Hartford Police Department "wrongfully and

without legal justification or cause conducted an unreasonable search/seizure of him and further

conducted an unlawful arrest and illegal, malicious prosecution of him for disorderly conduct,

interference with a police officer and assault on a police officer." Doc. 38, Amended Complaint,




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       The plaintiff has provided the defendants with a proposed Second Amended Complaint

that will be filed by agreement but which the plaintiff has not yet filed. The Second Amended

Complaint will delete all claims against Chief Roberts and will delete all Monell claims. This

motion in limine is addressed specifically to the proposed Second Amended Complaint, which

the plaintiff has affirmatively represented his intent to file. The proposed Second Amended

Complaint asserts claims alleging that defendant police officers violated the plaintiff's rights

secured by the Fourth and Fourteenth Amendments to the United States Constitution and Article

First §§ 7 and 9 of the Connecticut Constitution by stopping, detaining, searching and seizing the

plaintiff without probable cause, by using excessive force upon him, and by failing to protect

him from the actions of the other officers. The other counts contained in the proposed Second

Amended Complaint, include Connecticut state common law claims of assault and battery,

intentional infliction of emotional distress, negligent conduct, reckless conduct, negligent

infliction of emotional distress, and duties of indemnification as to the City of Hartford.

       B. Defendants Answer and Defense

   The defendants have denied the allegations of the plaintiff's complaint and have asserted

multiple special defenses. At trial, the defendants intend to present evidence which will show

that plaintiff's claims are without merit. The defendants will show that Officer Carroll witnessed

an argument between the plaintiff and Jill Caron, his ex-girlfriend, regarding a cell phone.

Defendants will show that Officer Carroll saw the plaintiff grab Ms. Caron's wrist and he

approached both the plaintiff and Ms. Caron to intervene. The defendants will present evidence

to show that the plaintiff refused to comply with Officer Carroll's instructions to step away from

the situation, and that when Officer Carroll informed the plaintiff that he was under arrest (for

disorderly conduct), the plaintiff swung around and punched Office Carroll in the face. This was



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followed by a struggle between the plaintiff and Officer Carroll, in which Officers Matthews,

Washington, Sergeant St. John and Detective Otera eventually joined in order to assist Officer

Carroll in subduing the plaintiff.

        The defendants contend that during the arrest of the plaintiff, the defendant officers used

a level of force necessary to overcome the plaintiff's active resistance to his arrest. Due to the

plaintiff's resistance to his arrest, force was necessary to obtain his compliance. During the

course of his arrest, the plaintiff was brought down to the ground two times, during which he

suffered lacerations to his face. After gaining control of the plaintiff and handcuffing him, the

arresting officers realized that he was injured and an ambulance was immediately called. The

plaintiff was transported to Hartford Hospital.

       Upon release from the Hospital, he was booked at the Hartford Police station and charged

with disorderly conduct, assaulting a police officer, and interference. The plaintiff applied for,

and was granted, accelerated rehabilitation, the conditions of which were that he undergo

evaluation for anger management and perform 25 hours of community service.

        C. Written Statement of Ms. Caron

       During the discovery phase of this case, the plaintiff produced to the defendants a written

statement that is purported to be that of Jill Caron. This statement is attached as Exhibit A. Ms.

Caron is the plaintiff's former girlfriend, and it was the dispute between them that Officer Carroll

observed that prompted Officer Carroll to approach the plaintiff. Ms. Caron witnessed a portion

of the struggle that ensued between the plaintiff and the defendant police officers. The statement

is not addressed to any particular person or office and it is not sworn. Within the statement Ms.

Caron confirms that the plaintiff had grabbed at her phone prior to the struggle with the officers.

Ms. Caron did not witness how the struggle commenced, as she had turned away from Officer



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Carroll and the plaintiff to re-join her friends. Nonetheless, Ms. Caron repeatedly offers the lay

opinion that the conduct of the police officers was "violent" and "out of control."

        The written statement also includes secondary hearsay evidence of the claimed opinion of

an unnamed female police officer, whom Ms. Caron asserts agreed with Ms. Caron that the

defendant police officers conduct was inappropriate. The statement also includes multiple other

inadmissible statements as set forth in greater detail below.

I.      Law and Argument

        "To the extent practicable, the court must conduct a jury trial so that inadmissible

evidence is not suggested to the jury by any means." Fed.R.Evid. 103(d). "The court must

decide any preliminary question about whether a witness is qualified, a privilege exists, or

evidence is admissible. In so doing, the court is not bound by evidence rule, except those of

privilege." Fed.R.Evid. 104(a)

        A. Ms. Caron's statement is inadmissible hearsay.

        Hearsay is not admissible unless a federal statute, the Federal Rules of Evidence or other

rules prescribed by the Supreme Court provide otherwise. Fed.R.Evid. 802. Hearsay is defined

a "statement that (1) the declarant does not make while testifying at the current trial or hearing;

and (2) a party offers in evidence to prove the truth of the matter asserted in the statement."

        In this case the written statement of the declarant, Jill Caron, was clearly was not made

while Ms. Caron was testifying at the upcoming trial. Furthermore, the statement is not sworn.

Additionally, the only possible basis for the plaintiff to offer the statement is to prove the truth of

the matters asserted with in it, which is that the officers beat and tased the plaintiff, and that their

conduct was violent, unnecessary, unreasonable and excessive. Furthermore, none of the




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exceptions to the rule against hearsay contained within Rules 803 or 804 apply to Ms. Caron's

statement.

       B. Ms. Caron's statement contains multiple instances of inadmissible lay opinion
          evidence regarding the reasonableness of the defendants' conduct

       Ms. Caron has not been disclosed or qualified as any form of expert in this case. Rule

701 provides that unless a witness is testifying as an expert, the witnesses may not offer opinion

evidence unless it is "(a) rationally based upon the witness's perception; (b) helpful to clearly

understanding the witness's testimony or to determining a fact in issue; and (c) not based on

scientific, technical or other specialized knowledge within the scope of Rule 702." Fed.R.Evid.

701 (emphasis added). The Rule uses the conjunctive "and," thus indicating that all three

requirements must be met before lay opinion may be offered.

       Rule 701's helpfulness requirement is designed to provide "assurance[ ] against
       the admission of opinions which would merely tell the jury what result to reach."
       Fed.R.Evid. 704 Advisory Committee Note on 1972 Proposed Rules. Thus, if
       "attempts are made to introduce meaningless assertions which amount to little
       more than choosing up sides, exclusion for lack of helpfulness is called for by
       [Rule 701]." Fed.R.Evid. 701 Advisory Committee Note on 1972 Proposed Rules.

       United States v. Rea, 958 F.2d 1206, 1215-16 (2d Cir. 1992).

       Ms. Caron's written statement includes multiple opinions regarding the conduct of the

defendants. Specifically, she opines that the plaintiff "wasn't resisting or fighting back," that

"everything was completely out of control," that the "violence against [the plaintiff] was

completely unnecessary and the officers seemed completely out of control of the entire

situation," that the "situation was taken overboard" and that the plaintiff was an "innocent

person." Exhibit A. Ms. Caron's opinions fail to meet both prongs (a) and (b) of Rule 701's

limited allowance of opinion testimony.

       First, Ms. Caron's statement does not indicate that her opinions are "rationally based

upon [her] perception." "When a witness has not identified the objective bases for [her] opinion,
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the proffered opinion obviously fails completely to meet the requirements of Rule 701, first

because there is no way for the court to assess whether it is rationally based on the witness's

perceptions, and second because the opinion does not help the jury but only tells it in conclusory

fashion what it should find." United States v. Rea, 958 F.2d 1206, 1216 (2d Cir. 1992). Ms.

Caron's statement indicates that she and the plaintiff were separated by a police officer and that

after that separation she began to "look around for [her] friends to go home," and started to cross

the street. There is nothing in Ms. Caron's statement to indicate that she saw how the struggle

between the plaintiff and the officers commenced. There is nothing to indicate that Ms. Caron

saw why or how the plaintiff was brought to the ground. Based upon the statement, Ms. Caron

turned away and did not see the plaintiff again until he was on the ground. Therefore, Ms. Caron

had no perception upon which to believe that the officer's conduct in arresting and subduing the

plaintiff was unreasonable.

       Furthermore, Ms. Caron's opinions are not necessary to helping the jury understand her

testimony or to determine a fact in issue. "[In] order to conclude that such testimony [lay

opinion testimony] is admissible, the court must find that the witness' testimony is based upon

his or her personal observation and recollection of concrete facts ... and that those facts cannot

be described in sufficient detail to adequately convey to the jury the substance of the testimony."

United States v. Jackson, 688 F.2d 1121, 1124 (7th Cir. 1982) (internal citations omitted). Ms.

Caron's statement and testimony can easily be limited to describing her personal observations

and concrete facts such as the relative positions of the plaintiff and the officers, and the physical

movements and interactions of the plaintiff, and each of the officers, so as to enable the jury to

conclude for itself whether the officers' actions were reasonable or excessive without resort to

commentary that the defendant police officers were "violent" or "out of control," or that their



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actions were "unnecessary." The only purpose of the use of such opinion testimony is to tell the

jury that Ms. Caron as "taken sides" and to tell the jury what it should find. Therefore, Ms.

Caron's written statement is inadmissible because it contains inadmissible opinion testimony,

and if Ms. Caron is called to testify live she should be precluded from offering such opinions.

        C. Ms. Caron's statement contains inadmissible evidence of the plaintiff's non-violent
           character.

       Among the opinions asserted in Ms. Caron's statement is that there was "no indication

that [the plaintiff] was going to be violent nor has he ever been a violent person." Exhibit A, p.

1 (emphasis added). Federal Rule of Evidence 404(a)(1) provides that "Evidence of a person's

character or character trait is not admissible to prove that on that particular occasion the person

acted in accordance with the character or trait." As indicated above, the defendants will present

evidence to indicate that the reason Officer Carroll had approached the plaintiff was because he

grabbed at Ms. Caron's wrist, and that the altercation began when the plaintiff punched Officer

Carroll in the face. The only possible purpose of Ms. Caron's statement is to provide a basis for

the jury to disregard Officer Carroll's expected testimony, and to conclude that because the

plaintiff is not a violent person that he would not have grabbed Ms. Caron's wrist or punched

Officer Carroll on this particular occasion. Therefore, Ms. Caron's statement should be

precluded and in the event that Ms. Caron testifies live she should similarly be precluded from

offering any opinion regarding the plaintiff's alleged non-violent character.

       D. Ms. Caron's statement contains inadmissible lay opinion testimony regarding the
          cause and permanency of the plaintiff's alleged scars.

       Ms. Caron's statement also claims that the plaintiff now "has scars on his face that may

never go away" and she attributes the scars to the plaintiff's interaction with the defendant

officers. Ms. Caron is not a physician or other healthcare provider, and has not been disclosed as

any other form of expert witness. She is, therefore, not qualified to testify regarding the cause of

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any scar the plaintiff may have; nor is she qualified to testify as to whether such scars are

permanent. Therefore, Ms. Caron's statement should be precluded pursuant to Rules 701 and

702 because she is not an expert, and similarly any such testimony, which she might intend to

provide in live proceedings should be similarly precluded.

       E. Ms. Caron's statement contains inadmissible hearsay evidence regarding the alleged
          opinion of an unidentified police officer as to the reasonableness of the defendants'
          alleged conduct.

       Finally, Ms. Caron's statement also recounts an anecdote in which she claims a female

police officer called her to provide her information regarding the plaintiff's medical condition

following the altercation with police. Exhibit A, p. 2. According to Ms. Caron's statement, Ms.

Caron recounted the incident to the female officer and the officer "agreed when I told her this

situation was taken overboard." The female officer has never been identified to the defendants

by name.

       First, this statement is inadmissible because it is hearsay within hearsay. (As explained

above, Ms. Caron's entire statement is hearsay and the alleged statement of the female officer is

also hearsay). Furthermore, the opinion of the unidentified female officer is inadmissible

opinion evidence. There is no indication that the unidentified female officer observed or in any

manner had any first-person perception of the interaction between the plaintiff and the defendant

police officers. Therefore, her opinion could not be admissible non-expert opinion pursuant to

Rule 701. Furthermore, such opinion cannot be admitted pursuant to Rule 702 because the

female officer has never been identified by name, much less as an expert, and her qualifications

are entirely unknown.

       Therefore, Ms. Caron's statement should also be precluded because it contains this

inadmissible content regarding the alleged opinions of an unidentified female officer. Moreover,



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should Ms. Caron be called to testify live at trial she should similarly be precluded from

testifying regarding this alleged conversation with the unidentified female officer.

        F. Ms. Caron's statement include multiple irrelevant, and unduly prejudicial references
           to her own emotional reactions and state of mind regarding the incident.

        Finally, Ms. Caron's statement contains multiple references to her own emotions

reactions regarding the incident. For example, Ms. Caron's opines that after separating from

Officer Carroll and then later hearing yelling, she observed the ongoing struggle and "realized

very quickly that something was very wrong." Ms. Caron's statement indicates that during

portions of the events she was "crying," that she "felt like everything was completely out of

control." Ms. Caron also relayed that after the incident she was "devastated" and felt that it

"isn't natural to leave a friend in a situation such as this..." and that the incident "is a vision that

[she] will never forget."

        All of these characterizations and commentary are statements of Ms. Caron's own

emotional reactions and her own state of mind during and after the events. Ms. Caron is not a

party to this litigation, and therefore, her emotions during and regarding the incident are

irrelevant and inadmissible. Fed.R.Evid. 401 (definition of relevance) and 402 (irrelevant

evidence inadmissible). Furthermore, even if relevant, Ms. Caron's emotional recollections

should be excluded because any probative value them may have is substantially outweighed by

the danger of causing unfair prejudice to the defendants and of wasting time. Fed.R.Evid. 403.




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III.   Conclusion

       For the foregoing reasons the plaintiff should be precluded from admitting into evidence

the type-written statement of Ms. Caron.

RESPECTFULLY SUBMITTED,

THE DEFENDANTS,                               THE DEFENDANTS:
City of Hartford,                             Officer J. Carroll, Officer Matthews, Officer
Chief Daryl K. Roberts, In his Official       Washington, Detective Otero, Sgt. St. John
and Individual Capacities                     In their Official and Individual Capacities

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                                         CERTIFICATION

        This is to certify that on this February 7, 2014 a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by email to all parties by operation of the Court's electronic filing system or by
mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court's CM/ECF System.

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                                                       /s/ Rebecca M. Harris




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